                                    Case 5:17-cv-00079-JLH Document 10 Filed 06/16/17 Page 1 of 2                                                                                                  I
    (P~~\    3/?2/14)

I            U.S. Department of Justice                                                           PROCESS RECEIPT AND RETURN
                                                                                                  See Instructions for "Service of Process by the U.S. Marshal"
             United States Marshals Service                                                       on the reverse of this form.

             PLAINTIFF                                                                                                          COURT CASE NUMBER
                Charles E Hamner, ADC #143063                                                                                      5:17-cv-00079-JLH-BD
             DEFENDANT                                                                                                          TYPE OF PROCESS
                Danny Burls, et al.                                                                                              Summons & Complaint _
            SERVE                  NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN




                 •
                 AT
                                 Danny Burls, Warden, Maximum Security Unit
                                   ADDRESS Street or RFD, Aparlment No., City, State and ZIP Code)

                                P.O. Box 20550
            SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAIVE AND ADDRESS 8El...OVlf.
                                                                                                  Pine Bluff, AR
                                                                                                                         c/o ADC Compliance Division


                                                                                                                               71612

                                                                                                                     I Number c:I process to be
                                                                                                                     I served with this Form - 286
                        lcharles E Hamner, ADC #143063                                                               I
                         VARNER SUPERMAX                                                                             : Number of parties to be
                         Arkansas Department of Correction                                                           I served in this case
                         Post Office Box 400
                        IGrady, AR 71644-0400                                                                        :Check for service
            - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , o n U.S.A.

            SPECIAL INSTRUC110\IS OR Oil-ER IN"CRVIATION THAT WLL ASSIST IN EXPEDITING SERVICE (lncl_ude
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                                                                                                                              ____Addresses,
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            foTJephone Number, and Estimated Times Available For Service):                                          !Tl             c:1
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                                                                                             U.S. DISTRICT COURT
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            Signature of Attorney or other Originator requesting service on behalf ol:                                           NE NUMBER

             /s/ M. Frost, Deputy Clerk                                                           0   DEFENDANT        501-604-5351



            I acknowledge receipt for the total    Total Process District         District                                                                                        Date
            number of process indicated.                          of Orig}'i'     to Serve
            (Sign only first USM 285 if more
            then one USM 285 is submitted)                         No.   u___ oq No

            I hereby certify and return that I have personally served, 0 have legal evidence of service, 0 have executed as shown in "Remarks", the process described
            on the individual, company, corporation, etc., at the address shown above or on the individual, company, corporation, etc., shown at the address inserted below.

            0   I hereby certify and return that I am unable to locate the individual, company, corporation, etc.,      named above (See remarks below)

            Name and title of individual served (if not shown above)                                                                         A person of suitable age and dis·
                                                                                                                                        0    crelim then residing In the defendant's
                                                                                                                                             USlllll place of abode.
                                                                                                                                                                  Time


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                                                                                                                                    I           .
                Service Fee     Total Mileage Charges      Forwarding Fee ~otal Charges       Advance Deposits      Amount owed to U.S. Marshal or                    Amount of Refund


                /Jo
            REMARKS:
                                (mcludmg endeavotS)
                                                                                /.fo                                         ~Jo                           I

            PRIOR EDITIONS                                                                                                                      FORM USM-285 (Rev. 12/15/80)
            M.l\Y BE USED
                                                                  1. CLERK OF THE COURT
                Case 5:17-cv-00079-JLH Document 10 Filed 06/16/17 Page 2 of 2
·•

                                    Arkansas Board of Corrections
                                        Compliance Division
                                        Post Office Box 20550
                                     White Hall, Arkansas 71612
                                       Phone: (870) 267-6752
                                         Fax: (870) 267-6755


     MEMORANDUM

     TO:           United States Marshals Service, Western District

     FROM:         Chris Coody, Investigator Compliance Division

     RE:           Accepting Service/Returning Service/Additional Service

     DATE:         lune 12, 2017


     Please be advised that I am Accepting Service on these copies of this lawsuit, case no.
     5:17CV00079, Im. Charles E. Hammer, ADC#143063, v, Danny Burl et al, for the
     following, on this Date: June 12, 2017:

             Danny Burl, Warden, MSU
             Connie Jenkins, Classification, Ester Unit
             Maurice Williams, Major, Grimes Unit
             Steve Outlaw, Deputy Warden, Pine Bluff Unit
             Marvin Evans, Retired, Deputy Director ADC


     This case is assigned to Chris Coody, Investigator for the Compliance Division.

     This case was delivered by U. S. Marshal's Service

     cc:     Attorney General's Office
             Case File
